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                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                              )
                                                        )
                        Plaintiff,                      )
                                                        )
 v.                                                     )       Case No. 21-CR-0102-CVE-9
                                                        )
 CURTIS ANTHONY JONES,                                  )
                                                        )
                        Defendant.                      )

                                               ORDER

        This matter comes on for consideration of plaintiff’s motion for leave to dismiss without

 prejudice (Dkt. # 341). Defendant Curtis Anthony Jones is charged in count four of the second

 superseding indictment and third superseding indictment, and plaintiff requests leave to dismiss the

 charges without prejudice against this defendant. Under Fed. R. Crim. P. 48(a), “courts must grant

 prosecutors leave to dismiss charges unless dismissal is clearly contrary to manifest public interest.”

 United States v. Robertson, 45 F.3d 1423, 1437 n.14 (10th Cir. 1995) (quoting Rinaldi v. United

 States, 434 U.S. 22, 30 (1977)). The Court concludes that dismissal of the charges against defendant

 is not contrary to the public interest, nor is it for an improper purpose, and plaintiff’s motion to

 dismiss should be granted.

        IT IS THEREFORE ORDERED that plaintiff’s motion for leave to dismiss without

 prejudice (Dkt. # 341) is granted, and the second superseding indictment (Dkt. # 84) and third

 superseding indictment (Dkt. # 155) are dismissed without prejudice as to defendant Curtis

 Anthony Jones.

        IT IS FURTHER ORDERED that all scheduling order dates, including the August 15, 2022

 jury trial, are hereby stricken as to Curtis Anthony Jones.

        DATED this 8th day of August, 2022.
